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                                                    THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9          UNITED STATES OF AMERICA,                      CASE NO. CR17-0203-JCC
10                            Plaintiff,                   ORDER
11                    v.

12          FREDERICK JACKSON,

13                            Defendant.
14

15          This matter comes before the Court on the Government’s unopposed motion to dismiss
16   the indictment against Defendant Frederick Jackson in the above-captioned case (Dkt. No. 121).
17   Having thoroughly considered the relevant record, the Court GRANTS the motion pursuant to
18   Federal Rule of Criminal Procedure 48(a). The Court hereby ORDERS that the indictment
19   against Defendant Frederick Jackson is DISMISSED without prejudice.
20          DATED this 5th day of February 2018.




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                                                        John C. Coughenour
24                                                      UNITED STATES DISTRICT JUDGE
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     ORDER
     CR17-0203-JCC
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